            Case 2:25-cv-00241-BHS            Document 78                Filed 03/17/25           Page 1 of 5




 1                                                            THE HONORABLE BENJAMIN H. SETTLE

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 8

 9    COMMANDER EMILY SHILLING, et al.,                            No. 2:25-cv-241-BHS

10                  Plaintiffs,                                    PLAINTIFFS’ UNOPPOSED
                                                                   MOTION TO FILE OVERLENGTH
11          v.                                                     REPLY BRIEF

12    DONALD J. TRUMP, in his official capacity as                 NOTE ON MOTION CALENDAR:
      President of the United States; et al.,                      March 17, 2025
13
                    Defendants.
14

15          Plaintiffs, by and through their undersigned counsel, hereby respectfully request an order

16   permitting them to file an overlength Reply to Defendants’ Opposition to Plaintiffs’ Motion for

17   Preliminary Injunction pursuant to Local Rules W.D. Wash. LCR 7(f) and is noted for same day

18   consideration pursuant to Local Rules W.D. Wash. LCR 7(d)(1).

19          On February 19, 2025, the Court granted the parties’ joint stipulated request to file

20   overlength briefs, allowing 10,000 words for both Plaintiffs’ motion and Defendants’ opposition,

21   and 5,000 words for Plaintiffs’ Reply. ECF No. 22. The Court subsequently granted the Parties’

22   joint stipulated request to amend the briefing schedule, allowing Plaintiffs to file a supplemental

23   brief in support of their motion. ECF No. 56. On March 13, 2025, Defendants requested and

24   were granted an increased word limit for their opposition to 13,000 words. ECF Nos. 72, 74.

25   Defendants filed their opposition with a final word count of 12,982. ECF No. 76.

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     PLAINTIFFS’ MOTION TO                     Perkins Coie LLP            Lambda Legal Defense and         Human Rights Campaign
                                        1201 Third Avenue, Suite 4900         Education Fund, Inc.                Foundation
     FILE OVERLENGTH REPLY              Seattle, Washington 98101-3099      120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
     CASE NO. 2:25-CV-241-BHS                 Phone: 206.359.8000          New York, NY. 10005-3919          Washington, D.C. 20036
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 1          By way of this Motion, Plaintiffs request that the word limit for their reply brief be
 2   increased to 6,500 words. Good cause exists for this request because Plaintiffs require the
 3   additional space to appropriately respond to the arguments made by Defendants in their
 4   opposition and the following additional guidance that has been issued since Plaintiffs filed the
 5   supplemental briefing:
 6              •   Office of the Undersecretary of Defense, Clarifying Guidance on Prioritizing
 7                  Military Excellence and Readiness: Retention and Accession Waivers, issued
 8                  Mar. 4, 2025;
 9              •   Sec’y of the Army, Prioritizing Military Excellence and Readiness
10                  Implementation Guidance, issued Mar. 6, 2025;
11              •   Dep’t of the Army, Implementing Guidance for Executive Order (EXORD 175-
12                  25), issued Mar. 7, 2025; and
13              •   Sec’y of the Navy, Initial Direction on Prioritizing Military Excellence and
14                  Readiness, issued Mar. 13, 2025.
15
     See Defendants’ Notices Pursuant to the Court’s Order, ECF Nos. 64, 68, and 75. The overlength
16
     brief will assist the Court in resolving the many complex issues raised in this case.
17
            Plaintiffs’ counsel have conferred with Defendants’ counsel, who stated that Defendants
18
     do not oppose this request.
19
            Pursuant to Local Rules W.D. Wash. LCR 7(e)(6), I certify that this memorandum
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     contains 327 words, in compliance with the Local Civil Rules.
21

22
     DATED this 17th day of March 2025.
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